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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE                                                      CASE NUMBER

PATRICK WOLFSOHN AND                                       19-55240-jwc
STEPHANIE WOLFSOHN,
                                                           CHAPTER 13
        Debtors.


             CERTIFICATE OF MANNER OF SERVICE UNDER RULE 7004


        I, the undersigned, hereby certify under penalty of perjury that I am, and at all times
hereinafter mentioned, was more than 18 year of age, and that on March 16, 2020, I served a copy
of the Chapter 13 Plan on the following creditors via first class mail with sufficient postage, unless
otherwise noted:

Todd Nidey as Trustee                                  Whitehawk Community Assoc, Inc
120 B Allen Road                                       C/O Shaben and Associates (registered
Atlanta, GA 30328                                      agent)
                                                       3933 Lawrenceville Suwanee Rd
                                                       Suwanee, GA 30024

PHH Mortgage Services                                  Charles W. Scharf, CEO and President
c/o Glen A. Messina, President and CEO                 Wells Fargo Bank NA as Trustee
1 Mortgage Way                                         for MASTR Asset Back 2005-OPT1
Mount Laurel, NJ 08054                                 9062 Old Annapolis Road
                                                       Columbia, MD 21045
PHH Mortgage Services                                  (via certified mail, return receipt)
c/o Glen Messina, President and CEO
PO Box 5469                                            Charles W. Scharf, CEO and President
Mount Laurel, NJ 08054                                 Wells Fargo Bank, NA Trustee
                                                       for MASTR Asset Back 2005-OPT1
                                                       101 North Phillips Ave.
                                                       Sioux Falls, SD 57104
                                                       (via certified mail, return receipt)

        Dated: March 16, 2020

                                                      ATLANTA LEGAL AID SOCIETY, INC.

                                                      By: /s/ Sarah B. Mancini
                                                      Sarah B. Mancini
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                                           Georgia Bar No. 319930
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